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 7                                  UNITED STATES DISTRICT COURT
 8                               NORTHERN DISTRICT OF CALIFORNIA
 9
10    IN RE: ROUNDUP PRODUCTS                       MDL No. 2741
      LIABILITY LITIGATION
11                                                  Case No. 16-md-02741-VC
12                                                  BERNSTEIN LIEBHARD LLP’S OBJECTION TO
13    THIS DOCUMENT RELATES TO:                     CO-LEAD COUNSEL’S MOTION TO
                                                    SUPPLEMENT PRE-TRIAL ORDER 12:
14                                                  COMMON BENEFIT FUND ORDER TO
      ALL CASES
                                                    ESTABLISH A HOLDBACK PERCENTAGE
15
16                                                  Hearing date: March 3, 2021
                                                    Time: 1:00 PM
17
18            Bernstein Liebhard LLP (hereinafter “BL”) submits the within Objection to Plaintiffs’ Co-
19 Lead Counsel’s (hereinafter “Co-Leads”) Motion to Supplement Pre-Trial Order 12 (hereinafter “PTO
20
   12”): Common Benefit Fund Order to establish a holdback percentage (Dkt. 12394) (hereinafter “Co-
21
   Leads’ Motion to Supplement”).
22
23                                               ARGUMENT

24            The instant application by the Plaintiffs’ Co-Leads to establish a total holdback of eight and
25
     one-quarter percent (8.25%), with eight percent (8%) to be borne by individual claimants’ counsel,
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     and one-quarter percent (0.25%) to be assessed as a cost to claimants is unfair on its face and in
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28 application, lacks transparency, and is excessive, and thus should not be permitted by this Honorable
     Court.

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            Indeed, the questions posed by the Court in its January 26, 2021 Order (Dkt. 12463)
 1
 2 underscore precisely the reasons why the instant motion must be denied.
 3 I.       Holding Back A Percentage Of Attorneys’ Fees For Potential Distribution To The Co-
            Leads Is Unnecessary On Its Face
 4
 5           It has been widely reported in the press,1 and most recently acknowledged by Plaintiffs’

 6 Executive Committee member Michael Baum, Esq., in his submission to the Court on January 25,
 7
     2021 (Dkt. 12457), that Defendants have agreed to pay over ten billion dollars ($10,000,000,000.00)
 8
     to settle various claimants’ Roundup cancer claims.
 9
10           It is respectfully submitted, upon information and belief, that the Co-Leads, through their

11 individual fee contracts with their clients, have already significantly, and more importantly,
12 adequately, been compensated for the work they performed, and for which they now seek to be
13
   compensated again. The eight percent (8%) fee assessment the Co-Leads’ motion now seeks
14
   represents in excess of an additional eight hundred million dollars ($800,000,000.00), to be paid for
15
16 the work they undoubtedly would have nevertheless performed on behalf of their own clients, and
17 indeed did perform, notwithstanding there being no fixed common benefit fee percentage in place
18
     since the inception of the MDL.
19
             An article published online in Environmental Health News on July 30, 2020 (“EHN Article”)
20
     noted that one of the Co-Lead firms, The Miller Firm, settled over 5,000 cases for approximately eight
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                                                          2
22 hundred, forty-nine million dollars ($849,000,000.00).          At a standard 40% fee-first retainer

23 agreement/fee contract, The Miller Firm could already have recovered as much as three hundred, forty
24
25
26   See, e.g., Patricia Cohen, The New York Times, “Roundup Maker to Pay $10 Billion to Settle Cancer
     1

   Suits,”     June      24,   2020,   https://www.nytimes.com/2020/06/24/business/roundup-settlement-
27 lawsuits.html.
28 2 Carey Gillam, Environmental Health News, “Some US Roundup plaintiffs balk at signing Bayer
   settlement deals; $160,000 average payout eyed,” July 30, 2020, https://www.ehn.org/bayer-roundup-
   settlement-2646836532.html.
                                                      2
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     million dollars ($340,000,000.00) in Roundup fees from their own clients’ cases in less than five (5)
 1
 2 years. It stretches credulity that such a recovery could be deemed inadequate when looked at on a
 3 quantum meruit basis. BL is unaware of any public statement by any of the parties involved disputing
 4
     the accuracy of the settlement amount or the number of claimants involved.
 5
              It should be noted that BL does not have the benefit of a press article (or any public statement
 6
 7 or filing) that articulates how many clients were ultimately represented by the other Co-Lead firms or
 8 the Executive Committee firms, nor the value of any settlement offers made to those firms. Because
 9 this information is not publicly available, it is impossible for BL to accurately assess how much the
10
     Co-Lead and Executive Committee firms earned in fees, and accordingly whether the fees earned were
11
     fair or adequate in the context of the work performed.
12
13            BL therefore requests a full accounting and leave to: 1) audit all documents that set forth the

14 retainer percentages of claimants with settled cases, gross settlement amounts offered and per-case
15 averages achieved by the Co-Lead and Executive Committee firms, as well as time and expense
16
   records and any other records kept by the Co-Leads and Executive Committee firms; 2) examine and
17
   inspect any and all records, criteria or formulas used to arrive at the proposed assessment percentage;
18
19 3) review any minutes, e-mails, texts, correspondence or other writing concerning the proposal; and 4)
20 conduct full discovery as to the bases of the Co-Leads’ claims of entitlement to an assessment of
21
     8.25%.
22
     II.      Co-Lead Counsel Have Already Received a Premium On Their Settlements, Obviating
23            The Need For a Holdback
24
              The July 30, 2020 EHN article, supra. reported that one of the Co-Lead firms, The Miller
25
     Firm obtained a per-case average settlement offer for its clients of approximately $160,000.00. BL
26
27 has been in negotiations with Defendants discussing potential resolution of its inventory of claims.
28 Upon information and belief, the Co-Leads were offered a premium to settle their cases, and


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     Defendants’ best offers to resolve non-leadership cases were significantly less. As set forth above,
 1
 2 however, without a full accounting and discovery, it is impossible for BL to accurately assess
 3 precisely how much of a benefit/premium the Co-Leads have already realized.
 4
             It is respectfully suggested, however, that if the numbers published in the EHN article are
 5
     accurate, the premium alone paid to The Miller Firm may have approached two hundred million
 6
 7 dollars ($200,000,000.00) as compared to a non-leadership firm with a comparable inventory. Surely
 8 the Common Benefit doctrine does not contemplate or support an additional windfall at the expense of
 9 the individual plaintiffs’ counsel, where by virtue of their work in leadership positions, the Co-Leads
10
     have already reaped fees multifold per case as compared to non-leadership firms.
11
             Lastly, it must be noted that the leadership firms secured significant verdicts in the three (3)
12
13 cases that were ultimately tried. Johnson v. Monsanto resulted in a verdict of $289 Million in July,
14 2018, later reduced to $20.6 Million; Hardeman v. Monsanto resulted in a verdict of $80 Million in
15 March, 2019, later reduced to $25 Million; and Pilliod v. Monsanto resulted in a verdict of $2.055
16
   Billion, later reduced to $86.7 Million. Upon information and belief, the fees generated by the
17
   leadership firms on the three (3) trial cases likely total between $40-50 Million.
18
19 III.     The Proposed Eight (8%) Percent Holdback From Attorneys’ Feed Is Excessive

20          In the event the Court enters an Order directing any holdback, eight (8%) percent is clearly
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     excessive. As set forth in Sections I and II., supra., the Co-Lead firms were already compensated
22
     handsomely on the basis of their own existing fee contracts with their clients and by achieving a
23
24 premium on settlement values by virtue of their work as Co-Leads. An additional eight-hundred
25 million dollars in common benefit fees to be shared primarily among the three (3) Co-Lead firms3
26
27
     3
28     Given the January 25, 2021 submission of Michael Baum, Esq. requesting an extension of the
     deadline to respond to the motion, it is clear that there is not even unanimity among leadership as to the
     direction any common benefit holdback should take.
                                                            4
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     over and above what they have already received in settlements would clearly be an unprecedented
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 2 windfall at the expense of the individual plaintiffs’ counsel’s fee contracts, and surely not what is
 3 contemplated by the Common Benefit doctrine. The individual plaintiffs in this MDL are already
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     represented by attorneys who have their own contingency fee agreements/contracts with their clients,
 5
     and have invested significant time and shouldered substantial costs in acquiring, screening,
 6
 7 prosecuting and negotiating their claims.
 8          As noted in the Co-Leads’ instant motion, the original assessment percentage sought by
 9 leadership was seven percent (7%) inclusive of fees and costs. Motion To Approve An Order
10
     Establishing A Common Benefit Fund (December 16, 2016) (hereinafter “2016 CBF Motion”), (Dkt.
11
     74). That motion enumerated the factors the Co-Leads considered, including inter alia, the number of
12
13 cases, anticipated participating cases, and the percentages adopted and obtained in other cases. Id.
14          In the motion now before the Court, the Co-Leads acknowledge that even as late as 2018, there
15 were only approximately 8,000 filed cases. Co-Leads Motion to Supplement (Dkt. 12394), at 6.
16
   Moreover, inherent in the 2016 CBF Motion was the position taken by the Co-Leads that a seven (7%)
17
   percent assessment on fewer than 8,000 cases would adequately compensate them from the work that
18
19 lay ahead.
20          In the instant motion, however, the Co-Leads acknowledge that there are now as many as
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     125,000 filed and unfiled cases, yet they argue this increase in the amount of cases can somehow
22
     negatively impact them financially. Although the Co-Leads dedicate much of their brief to the
23
24 increase in case acquisition by non-leadership firms following the Court’s Daubert ruling and their
25 successes at trial, they acknowledge that much of the substantive work they allege positioned the cases
26 to be settled had already been completed. The later-acquisition and prosecution of cases did nothing
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     to increase the burden on leadership, financial or otherwise.
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            Yet, the instant application requests an eight percent (8%) assessment on 125,000 cases, where
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 2 the Co-Leads were willing to accept seven percent (7%) on less than 8,000 cases, and must therefore
 3 be carefully scrutinized. Although the number of cases potentially subject to assessment based upon
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     the same amount of work performed by the Co-Leads has increased more than fifteen-fold, they
 5
     nevertheless seek to increase the percentage value of the assessment as well. Furthermore, the instant
 6
 7 motion states that “the CLC believe that a holdback of eight percent – only one percent higher than
 8 requested three years ago – is fair and reasonable under the circumstances,” suggesting that a
 9 percentage point of ten billion dollars is de minimus. Co-Leads Motion to Supplement (Dkt. 12394),
10
     at 14, fn. 13 (emphasis added). The Co-Leads argument glosses over the fact that “only one percent”
11
     equals over one hundred million dollars ($100,000,000.00).
12
13                                             CONCLUSION

14          The relief sought in Co-Lead’s Motion seeking an assessment of eight and one-quarter percent
15 (8.25%) is unfair on its face and in application, lacks transparency, and is excessive. Accordingly, it
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   is respectfully submitted that the Co-Leads’ Motion must be denied in its entirety.
17
   Dated: February 4, 2021
18
                                                 Respectfully submitted,
19
                                                 /s/Daniel C. Burke
20                                               Daniel C. Burke, Esq.
                                                 BERNSTEIN LIEBHARD LLP
21
                                                 10 East 40th Street
22                                               New York, New York 10016

23                                               Attorney for Plaintiffs
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 1
 2
                                      CERTIFICATE OF SERVICE
 3
           I HEREBY CERTIFY that on this 4th day of February, 2021, a copy of the foregoing was filed
 4
 5 with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all
 6 appearing parties of record.
 7
                                                /s/ Daniel C. Burke
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